                  IN THE UNITED STATES DISTRICT
                COURT FOR THE NORTHERN DISTRICT
                  OF GEORGIA ATLANTA DIVISION

 UNITED STATES OF AMERICA,                )
     Plaintiff,                           )     CRIMINAL ACTION NO.
                                          )
 V.                                       )     1:17-CR-00224-AT-CMS
                                          )
                                          )
 ALLEN J. PENDERGRASS,                    )
     Defendant.                           )
                                          )

                                NOTICE OF APPEAL

      Notice is hereby given that Allen J. Pendergrass hereby appeals to the

Eleventh Circuit the judgment entered on August 26, 2022, by the Honorable

Amy Totenberg (Doc. 289) in the United States District Court for the

Northern District of Georgia.

      Respectfully submitted this 7th day of September, 2022.

                                         /s/ Sydney R. Strickland
                                         Sydney R. Strickland
                                         Georgia Bar No. 418591
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